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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                            Chapter 11

WHITE EAGLE ASSET PORTFOLIO, LP,                  Case No. 18-12808 (KG)
WHITE EAGLE GENERAL PARTNER, LLC,
and LAMINGTON ROAD DESIGNATED                     (Jointly Administered)
ACTIVITY COMPANY (f/k/a LAMINGTON
ROAD LIMITED),

                                 Debtors.


EMERGENT CAPITAL, INC., WHITE
EAGLE ASSET PORTFOLIO, LP, WHITE
EAGLE GENERAL PARTNER, LLC, and
LAMINGTON ROAD DESIGNATED
ACTIVITY COMPANY (f/k/a LAMINGTON
ROAD LIMITED),                                    Adv. Proc. No. 19-50096-KG

                Plaintiffs,

                                 v.

LNV CORPORATION, SILVER POINT
CAPITAL L.P., and GWG HOLDINGS, INC.,

                Defendants.


                                  AMENDED COMPLAINT

         Plaintiff Emergent Capital, Inc. (“Emergent”) and Debtor-Plaintiffs White Eagle Asset

Portfolio, LP (“White Eagle”), Lamington Road Designated Activity Company (f/k/a Lamington

Road Limited) (“Lamington”) and White Eagle General Partner, LLC (“White Eagle GP”) (White

Eagle, Lamington and White Eagle GP, collectively, the “Debtor-Plaintiffs”; and the Debtor-

Plaintiffs and Emergent, collectively, “plaintiffs”), as and for their amended complaint against

defendants LNV Corporation (“LNV”), Silver Point Capital L.P. (“Silver Point”) and GWG
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Holdings, Inc. (“GWG”) (collectively, “defendants”), hereby allege, upon knowledge as to

themselves and upon information and belief as to all other matters, as follows:

                                        INTRODUCTION

       1.      This action arises out of defendants’ scheme to coerce plaintiffs into selling their

valuable portfolio of life insurance policies to defendants for well below its true value.

       2.      Debtor-Plaintiff White Eagle owns a portfolio of nearly 600 life insurance policies,

with a total face value of nearly $3 billion and a present value of more than $500 million. Pursuant

to a loan agreement, defendant LNV, a subsidiary of Beal Bank, agreed to lend $370 million to

White Eagle. In December 2016 and January 2017, LNV induced White Eagle to enter into an

onerous and unconscionable amended loan agreement, and since that time LNV has been engaged

in a concerted campaign to “squeeze” White Eagle and Emergent by improperly restricting their

cash flow, in the hopes that White Eagle and Emergent will have no choice but to sell the valuable

policy portfolio to LNV or one of its proxies at below its true value.

       3.      Among other things, LNV has improperly and in bad faith exercised its “discretion”

under the loan agreement’s one-sided provisions in ways that have caused plaintiffs significant

harm. For example, the loan agreement provides that White Eagle (and, by extension, Emergent)

may only participate in the cash flows generated by the policy portfolio when the loan-to-value

ratio (the “LTV”) is 65% or less. But the loan agreement also gives LNV “reasonable” discretion

to calculate the LTV. LNV has used that discretion unreasonably to undervalue the policy portfolio

in ways that improperly reduce the LTV and block White Eagle from receiving any cash generated

by its own assets – while LNV continues to hoard nearly all of the cash for itself. As evidence of

the unreasonableness of LNV’s valuations, plaintiffs have learned that LNV utilizes the exact same

valuation firm that plaintiffs use to value the portfolio, yet, when that firm values the portfolio for

LNV, that firm arrives at a value that is materially lower than the value which the same firm
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ascribes to the same portfolio for plaintiffs – just low enough, in fact, to ensure that LNV receives

100% of the portfolio’s cash flows through the loan agreement’s waterfall. In addition, LNV has

improperly excluded from the LTV calculation the value of policies that have matured, improperly

reducing the LTV; imposed usurious fees on White Eagle for so-called portfolio services that are

unnecessary and could be obtained cheaper elsewhere; and refused to release to Emergent millions

of dollars that it promised to release nearly two years ago.

       4.      As it intended all along, LNV’s improper conduct has vastly reduced the amount of

cash that White Eagle and Emergent receive from the policy portfolio, and endangered the ongoing

financial health of both companies. Indeed, in the nearly two years since the loan agreement was

amended, White Eagle has only been permitted by LNV to participate in the payment waterfall

twice, for less than $1 million, while LNV has kept for itself the lion’s share of the more than

$111 million in cash that White Eagle’s primary assets have generated over the same period.

       5.      LNV’s misdeeds have intentionally placed plaintiffs in an untenable and

unreasonable position: while both White Eagle and Emergent are indisputably solvent – indeed,

even at LNV’s improperly low valuations, their assets exceed their liabilities by between

$150 million and $200 million – both plaintiffs face a threat of severe ongoing cash constraints in

the near future, as White Eagle may not have sufficient cash flow to pay the premiums and other

costs associated with its policy portfolio, and Emergent may not have sufficient cash flow to pay

the debt and interest service on its own debt. Remarkably, LNV has now seized on this fact to

justify continuing its course of improper conduct: according to LNV’s counsel, White Eagle is no

longer permitted to participate in the payment waterfall at all because White Eagle’s parent

company, Emergent, has “fail[ed] to take steps to improve its solvency in a manner acceptable to

[LNV] (as determined in [its] sole and absolute discretion).”          In other words, LNV has



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unreasonably and improperly restricted plaintiffs’ access to the cash generated by plaintiffs’ own

assets, and LNV now points to that same lack of cash as a justification for its unreasonable and

improper actions.

       6.      After restricting plaintiff’s access to cash to which they are rightfully entitled, LNV

made repeated overtures to plaintiffs, suggesting that they sell their policy portfolio to one of “a

number of buyers,” i.e., entities with whom LNV has conspired. In the meantime, defendants

Silver Point and GWG – a hedge fund and a competitor in the life settlement industry, respectively

– have “independently” approached plaintiffs and offered to purchase White Eagle’s policy

portfolio. Plaintiffs have learned that Silver Point and GWG are both backed by, and are working

with, LNV. Specifically, GWG is acting through an individual, Brian Bailey, who, until recently,

was the key LNV executive working on the White Eagle loan. That same individual was working

directly with Silver Point when it offered to purchase the White Eagle portfolio – indeed, when a

Silver Point portfolio manager, Jason Jacobs, first met with Emergent and White Eagle executives

in New York to discuss Silver Point’s offer to purchase the portfolio, Bailey of Beal was waiting

at a nearby hotel for Jacobs to finish the meeting and update him on how it went. In other words,

Silver Point and GWG are direct participants in LNV’s conspiracy to expropriate plaintiffs’

valuable assets. In doing so, all three defendants have acted improperly.

       7.      The end game of LNV’s scheme is nearing completion. LNV’s improper conduct

has caused the Debtor-Plaintiffs – consisting of White Eagle and its direct corporate parents – to

seek protection under the Bankruptcy Code.

       8.      Plaintiffs bring this action to put a stop to defendants’ improper and unreasonable

conduct, and to seek damages and other relief to undo the consequences of defendants’ illegal

actions.



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                                            PARTIES

       9.      Debtor-Plaintiff White Eagle is a Delaware limited partnership with its principal

place of business in Bermuda. White Eagle’s general partner is White Eagle GP, a Delaware

limited liability company. White Eagle’s limited partnership interests are 99.9% owned by

Lamington, an Irish designated activity company, with the remainder 0.1% owned by White Eagle

GP. Lamington also owns 100% of White Eagle GP. Lamington is 100% owned by Markley

Asset Portfolio, LLC (“Markley”); Markley is owned 100% by OLIPP IV, LLC (“OLIPP”); and

OLIPP is 100% owned by plaintiff Emergent.

       10.     Debtor-Plaintiff White Eagle GP is a Delaware limited liability company. As noted

above, White Eagle GP is 100% owned by Lamington; Lamington is 100% owned by Markley;

Markley is owned 100% by OLIPP; and OLIPP is 100% owned by Emergent.

       11.     Debtor-Plaintiff Lamington is an Irish designated activity company. As noted

above, Lamington is 100% owned by Markley; Markley is owned 100% by OLIPP; and OLIPP is

100% owned by Emergent.

       12.     Plaintiff Emergent is a Florida corporation headquartered in Florida, and a global

leader in the life settlements industry. Emergent is the sole indirect owner of Lamington, White

Eagle’s limited partner and the owner of White Eagle GP.

       13.     Defendant LNV is a Nevada corporation with its principal place of business in

Texas. LNV offers commercial lending services in the United States and is a wholly-owned

subsidiary of Beal Bank USA.

       14.     Defendant Silver Point is a Delaware limited partnership with its principal place of

business in Connecticut. Upon information and belief, Silver Point’s general partner is Silver Point

Capital Management, LLC, a Delaware limited liability company (“Silver Point GP”); upon

information and belief, Silver Point’s limited partners and Silver Point GP’s members are residents
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of Connecticut, New York and New Jersey. Silver Point is a hedge fund that focuses on credit and

special situations investments.

        15.    Defendant GWG is a Delaware corporation with its principal place of business in

Minnesota. GWG, through its subsidiaries, is also engaged in the life settlements industry.

                                  JURISDICTION AND VENUE

        16.    Jurisdiction of this Court is founded upon sections 157 and 1334 of title 28 of the

United States Code, in that this constitutes a civil proceeding arising under the Bankruptcy Code,

or arising in or related to the above-captioned jointly administered chapter 11 cases under the

Bankruptcy Code, which are pending in the United States Bankruptcy Court for the District of

Delaware.

        17.    This is a core proceeding under section 157(b)(2) (A), (B), (K) and (O) of title 28,

United States Code.

        18.    Venue in this Court is appropriate under section 1409(a) of title 28, United States

Code.

                                  FACTUAL ALLEGATIONS

I.      THE LIFE SETTLEMENT INDUSTRY

        19.    A life settlement is a transaction in which an individual sells an insurance policy to

a third-party investor for an amount less than the policy’s face value, but greater than its net cash

surrender value. The investor becomes responsible for paying future premiums on the policy and,

upon the death of the individual, receives the policy’s death benefits.

        20.    Life settlements allow senior insureds who can no longer afford their premiums, or

who desire additional liquidity, to shed their policies for an immediate infusion of cash at a

premium over the cash surrender value offered by the insurance companies. The investor makes

projections concerning the individual’s probability of survival and life span, pays out the required

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premiums on the policy, and projects discounted cash flows for each policy. The investor assumes

the risk that the death benefit will be less than the sum of the purchase price, the aggregate future

premiums and any additional fees. The insured receives the benefit of an immediate cash payment

in excess of the cash surrender value offered to the insured.

       21.     Life settlement assets are subject to uneven cash flows that can be difficult to

predict, and that can lead to liquidity issues if the benefit payouts received are insufficient to cover

the cash outlays from operating expenses, the required premium payments, and the interest

payments on the debt needed to finance the business. However, the investment carries the benefit

of cash flows that are uncorrelated to market returns.

II.    EMERGENT, WHITE EAGLE AND THE LIFE SETTLEMENT PORTFOLIO

       22.     White Eagle is an indirect subsidiary of plaintiff Emergent. White Eagle owns a

portfolio of 594 life insurance policies – also known as life settlements – with an aggregate death

benefit of approximately $2.8 billion and a fair value (as calculated by LNV) of approximately

$552 million as of October 31, 2018. Each of these policies is pledged under a $370 million

revolving credit facility with LNV (the “White Eagle Facility”).

       23.     White Eagle’s indirect parent, Emergent, was founded in 2006 as Imperial

Holdings, LLC (which later became Imperial Holdings, Inc., and, in 2015, changed its name to

Emergent) and has been publicly traded since 2011. Emergent’s primary business is to act as a

holding company for its indirect interests in White Eagle and White Eagle’s portfolio of life

insurance policies.

III.   LNV, BEAL AND THE WHITE EAGLE FACILITY

       24.     In 2012, Emergent (then still known as Imperial) approached CSG Investments,

Inc., an affiliate of Beal Bank USA, seeking a credit facility to assist the company’s liquidity.


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       25.     Effective April 29, 2013, White Eagle’s predecessor entity, White Eagle Asset

Portfolio LLC, entered into the White Eagle Facility, a 15-year revolving credit agreement

memorialized in a Loan and Security Agreement (the “Initial Loan Agreement”) with LNV – a

subsidiary of Beal – as lender, Imperial Finance & Trading LLC (“Imperial Finance”) as servicer

and portfolio manager, and CLMG Corp. (“CLMG”) as administrative agent. CLMG is a wholly

owned subsidiary of Property Acceptance Corp., which is in turn a wholly owned subsidiary of

Beal Bank SSB. Both Beal Bank SSB and LNV’s parent, Beal Bank USA, are wholly-owned

subsidiaries of Beal Financial Corporation (Beal Bank SSB, Beal Bank USA and Beal Financial

Corporation are referred to herein as “Beal”).

       26.     The Initial Loan Agreement provided for an asset-based revolving credit facility

backed by White Eagle’s portfolio of life insurance policies with an initial aggregate lender

commitment of up to $300 million, subject to borrowing base availability. At the time of closing,

White Eagle owned a portfolio of 459 life insurance policies with an aggregate death benefit of

approximately $2.28 billion, which were pledged as collateral under the Initial Loan Agreement.

Emergent was to receive an initial advance of $83 million, a priority payment of $76.1 million

after paying down principal and interest, and a 50/50 split (subsequently reduced to 45/55) on net

cash flows from death benefits between White Eagle and LNV after the priority payment was

made. However, upon information and belief, $4 million of the initial advance under the Initial

Loan Agreement was retained by LNV as a purported “Up Front Fee,” with the result that, at all

times, the stated principal amount of LNV’s loan has exceeded the amount of the proceeds actually

advanced to White Eagle by $4 million. On information and belief, this differential between the

stated principal amount of the LNV loan and the amount actually received by White Eagle

constitutes original issue discount on the LNV loan.



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       27.     On May 16, 2014, White Eagle Asset Portfolio LLC converted from a Delaware

limited liability company into what is now White Eagle – a Delaware limited partnership – and its

ownership interests were transferred to Lamington, an indirect, wholly-owned Irish subsidiary of

Emergent. In connection with the conversion, the White Eagle Facility was amended and restated

in an Amended and Restated Loan and Security Agreement (the “Amended Loan Agreement”)

among White Eagle, as borrower; Imperial Finance as the initial servicer, initial portfolio manager

and guarantor; Lamington Road Bermuda Ltd. (“Lamington Road Bermuda”) as portfolio

manager; LNV as lender and CLMG as administrative agent. The financial terms remained the

same as under the Initial Loan Agreement.

       28.     The parties amended the Amended Loan Agreement on November 9, 2015 in a First

Amendment to Amended and Restated Loan and Security Agreement (the “First Amendment”).

Pursuant to the First Amendment, the maximum facility was reduced from $300 million to

$250 million and the interest rate under the facility was increased by 50 basis points. At the same

time, the White Eagle Facility was restructured to provide earlier participation by White Eagle in

the portfolio cash flows if certain loan to value (“LTV”) ratios were achieved. Effective with the

First Amendment, ongoing advances could no longer be used to pay interest on the White Eagle

Facility to LNV; instead, interest payments could be made only from proceeds received on White

Eagle’s policy portfolio (or, if they were insufficient, from White Eagle’s available cash). Pursuant

to the First Amendment, White Eagle would receive a portion of the proceeds from its policies

(after payment of fees and interest) of between 17.5% and 32.5% so long as the then-current LTV

was below 50% (a figure that was raised to 65% in a subsequent amendment, as described below).




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IV.    THE 2016/2017 AMENDED LOAN AGREEMENT

       A.      LNV Induces White Eagle to Enter into an Unconscionable Agreement

       29.     Emergent faced liquidity problems following entry into the White Eagle Facility

due to a mismatch between cash inflows (death benefit payouts and fair value adjustment) and

outflows (operating expenses and interest and premium payments), primarily due to legal and

professional fees that exceeded $100 million between 2011 and 2015.

       30.     In the fall of 2016, White Eagle approached LNV about restructuring the White

Eagle Facility. However, LNV saw plaintiffs’ liquidity problems as an opportunity to take over

plaintiffs’ valuable life settlement portfolio for itself. Accordingly, LNV forced White Eagle to

accept terms that so heavily favor LNV that LNV clearly and indisputably had – and still has – as

its ultimate goal the acquisition of 100% of White Eagle’s portfolio.

       31.     On December 29, 2016, under pressure from LNV, White Eagle and LNV entered

into a Second Amendment to the Amended and Restated Loan Agreement (the “Second

Amendment”). On January 31, 2017, in accordance with the Second Amendment, White Eagle

and LNV executed the Second Amended and Restated Loan and Security Agreement, dated

January 31, 2017 (as subsequently amended and/or restated, the “Second Amended Loan

Agreement,” or the “Loan Agreement”), which consolidated into a single document the Second

Amendment and all prior amendments. A copy of the Second Amended Loan Agreement – which

governs the present relationship among the parties – is attached hereto as Exhibit A.

       32.     Pursuant to the Second Amended Loan Agreement, 190 life settlement policies

purchased from other wholly owned subsidiaries of Emergent were pledged as additional collateral

under the White Eagle Facility for an additional policy advance of approximately $71.1 million

(which in turn was used to pay down the debt (owed to LNV) of the subsidiaries that contributed



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the collateral). The maximum facility amount was increased to $370 million and the term of the

facility was extended to December 31, 2031.

       B.      The Loan Agreement’s Onerous Terms

       33.     The Second Amended Loan Agreement provides LNV significant discretion on a

number of material issues – discretion that LNV has abused throughout the course of its

relationship with plaintiffs. For example, pursuant to Section 5.2 of the Second Amended Loan

Agreement, available amounts collected from matured life insurance policies are distributed

through a waterfall. (Ex. A, § 5.2.) Fees and costs, including fees to the Custodian, the Securities

Intermediary and the Administrative Agent are paid first. (Id.) Then LNV as Lender is entitled to

receive the “Required Amortization,” which is equal to the cash available at that point in the

waterfall multiplied by a percentage (the “Cash Flow Sweep Percentage”) that varies based on the

LTV of White Eagle’s policy portfolio. Specifically, if the LTV is greater than 65% – meaning

that the outstanding amount of the loan equals more than 65% of the value of the policies as

determined by LNV – 100% of the cash available for distribution at that point in the waterfall must

be paid entirely to LNV as amortization of the principal due under the facility.

       34.     The LTV calculation purportedly provides substantial discretion to LNV. The LTV

is defined as the outstanding amount of the facility divided by “the Lender Valuation of the Pledged

Policies (other than any Excluded Policies), as determined by the Required Lenders in their sole

discretion.” (Ex. A, Annex I at I-19 (emphasis added).) The term “Lender Valuation” is defined

to mean “on any date of determination, the value of the Pledged Policies (other than the Excluded

Policies) as determined by the Required Lenders in their reasonable discretion.” (Ex. A at I-17

(emphasis added).)     The definition goes on to provide non-exclusive examples of certain

methodologies and assumptions that might be reasonable.



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       35.     In addition, White Eagle is only entitled to receive proceeds under the waterfall if

“EMG” (i.e., Emergent – White Eagle’s indirect parent who is not even a party to the Loan

Agreement) maintains a Cash Interest Coverage Ratio – i.e., the ratio of Emergent’s cash to the

interest due on Emergent’s funded debt over the prior year – of at least 2.0:1 at any time during

the immediately preceding calendar quarter and does not fail to take steps “to improve its solvency

in a manner acceptable to the Required Lenders (as determined in their sole and absolute

discretion).” (Ex. A, Annex I at I-5-6.) And beginning in July 2019, the failure of EMG to

maintain a Cash Interest Coverage Ratio of at least 1.75:1 will give rise to an Event of Default.

(Ex. A, § 10.1(x).)

       36.     Finally, White Eagle only receives proceeds from its policy portfolio after LNV

receives a distribution on the Participation Interest that it was provided under the Second Amended

Loan Agreement (the “Participation”), equal to 45% (originally 50%) of the revenue generated by

White Eagle’s loan settlement portfolio (after certain fees, interest and required amortization has

been paid). (Ex. A, Annex I, at I-22.) Had White Eagle not agreed to provide the Participation to

LNV, LNV would have charged a higher base rate of interest on the underlying loan. Moreover,

the Loan Agreement makes clear that LNV receives payments on the Participation “in

consideration for the Lenders providing [the applicable] financing,” and LNV’s counsel has

acknowledged that the Participation “is an enhanced recovery as a consequence of agreeing to

make the loan.” Accordingly, the Participation constitutes additional interest on LNV’s underlying

$370 million loan to White Eagle.

       37.     Notably, LNV received its Participation as part of the consideration for its loan to

White Eagle under the White Eagle Facility (the “Loan”). In other words, LNV provided the Loan

to White Eagle, and in exchange received a promissory note for the face value of the Loan (which,



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as previously explained, has at all times exceeded the amount actually advanced by LNV to White

Eagle by $4 million, representing the so-called “Up Front Fee”), as well as the Participation.

LNV’s Participation essentially served as a “kicker” for LNV, on top of White Eagle’s obligation

to pay the face amount of the Loan plus the stated rate of interest. As a result, the Participation

constitutes additional, albeit contingent, interest on the Loan which accrues and becomes due on a

quarterly basis to the extent, if any, that “Available Cash,” as defined in the Loan Agreement,

exceeds priority items in the payment waterfall. Alternatively, if the Participation does not

constitute additional interest on the loan, it constitutes “Original Issue Discount,” or “OID,” which

is a separate and distinct form of OID from the OID represented by the $4 million “Up Front Fee.”

An OID is a discount from the face value of debt at the time the debt is issued that reflects the fact

that the lender paid less than the face amount of the debt in exchange for the debt. Essentially,

when LNV received the Participation in addition to the note, LNV paid less than the face amount

of the note in exchange for the note – LNV received a note for a face value of more than it provided

to White Eagle, when LNV’s Participation is taken into account.

V.      DEFENDANTS CONSPIRE TO APPROPRIATE WHITE EAGLE’S VALUABLE
        LIFE SETTLEMENT PORTFOLIO

        A.      LNV Abuses the Discretion It Was Afforded Under the
                Loan Agreement to Put Improper Pressure on White Eagle

        38.     In furtherance of its scheme to expropriate White Eagle’s business, LNV not only

inserted onerous terms in the Second Amended Loan Agreement that favored it exclusively, but

then has proceeded to apply those provisions in bad faith in an overt and improper attempt to force

White Eagle to declare bankruptcy and sell its valuable loan settlement portfolio to LNV for a

fraction of its true value.

        39.     LNV has manipulated and abused the discretion it provided itself under the onerous

and unconscionable provisions of the Second Amended Loan Agreement in order to deny White
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Eagle the cash flow that it needs to maintain its policy portfolio and provide cash for Emergent to

pay its own bondholders (and to maintain the Cash Coverage Ratio necessary to avoid a default

under the Loan Agreement). The goal of LNV’s manipulation and abuse indisputably is to choke

off White Eagle’s access to cash and force White Eagle into a restructuring through which LNV,

or one of its proxies, will be able to purchase White Eagle’s valuable portfolio for well below what

it is worth.

        40.    First, as discussed above, through the Second Amended Loan Agreement, LNV

successfully obtained a significant change to the waterfall for distribution of proceeds from the

policies pledged as collateral under the White Eagle Facility. White Eagle is only entitled to

receive proceeds under the waterfall (after all fees and expenses are paid) if the LTV ratio is 65%

or less, and if its indirect parent, Emergent, maintains the requisite Cash Coverage Ratio. Because

LNV determines the value of the policies – the “Lender Valuation” that is the numerator in the

calculation of LTV – LNV has significant discretion in determining the LTV, and therefore in

determining whether White Eagle (and, indirectly, Emergent) will receive any of the cash

generated by White Eagle’s policies.

        41.    White Eagle values its own portfolio on a quarterly basis, and until recently utilized

the services of what it previously believed was an independent expert, Lewis & Ellis Inc. (“Lewis

& Ellis”), to independently review its portfolio valuation on an annual basis. Plaintiffs believed

that LNV had engaged a separate company, D3G Capital Management, LLC (“D3G”), to value

the portfolio at White Eagle’s expense. However, plaintiffs have recently learned that D3G does

not itself value the portfolio at all; instead, D3G outsources that task to Lewis & Ellis – the same

Lewis & Ellis that valued the portfolio for White Eagle. But while LNV and D3G used the exact

same valuation firm used by White Eagle to value the exact same portfolio, their valuations are



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materially lower than the valuations obtained from that firm when it was acting on White Eagle’s

behalf. Indeed, when Lewis & Ellis valued White Eagle’s portfolio on behalf of D3G and LNV,

those valuations placed a value on the portfolio that was tens of millions of dollars less than the

value that Lewis & Ellis had placed on the same portfolio when performing the same work on

White Eagle’s behalf.

       42.     The difference in the valuations originating from the common source (Lewis &

Ellis) is significant: in many quarters, had LNV and D3G used the valuation Lewis & Ellis

produced when it was working for White Eagle, White Eagle would have been “in the money”

under the Loan Agreement’s waterfall. However, because LNV and D3G somehow obtained much

lower valuations from the same valuation firm for the same assets, they were able to artificially

inflate the LTV above 65% to prevent White Eagle from receiving any distributions, thereby

denying White Eagle much needed cash flow. Indeed, in the nearly two years since the Second

Amended Loan Agreement was executed, White Eagle has participated in the waterfall just twice,

receiving a total of $985,885, compared to over $111 million that has been paid to LNV.

       43.     Second, LNV has unreasonably excluded matured policies from its calculation of

LTV by removing those policies completely from the list of policies used in their Lender

Valuation, while at the same time refusing to include the account receivable value of the expected

life benefit amount. In other words, LNV refuses to give any credit whatsoever for policies that

have matured until White Eagle actually receives the cash from the life insurance carrier. Thus,

perversely, LNV gives White Eagle less credit for a policy that has matured than one that has not

matured. This artificially reduces the Lender Valuation, increases the LTV, and reduces the

amount of cash that White Eagle is able to draw upon through the payment waterfall under the

Loan Agreement. Although LNV has recognized that the failure of the Second Amended Loan



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Agreement to account for matured policies was an unintentional “oversight,” not justified by any

specific or legitimate rationale, and easily fixable without an amendment, they have refused to take

any action to correct the issue, ignoring numerous requests from White Eagle to rectify what is

clearly a typographical error. LNV’s refusal has allowed it to further deprive White Eagle (and,

indirectly, Emergent) of much needed cash flows.

       44.     Third, LNV has also depressed the amount of funds available to White Eagle by

imposing usurious fees that are payable quarterly to its affiliates, and which are deducted first

under the waterfall, or are otherwise payable solely by White Eagle out of funds it receives only

after amortization, interest and other charges have been paid. (Ex. A, § 5.2, Annex I at I-13.)

Under the Second Amended Loan Agreement, LNV approves the expenses to be funded in each

calendar year in its “sole and absolute discretion.” (Ex. A, Annex I, at I-13.) LNV has abused that

discretion by approving usurious fees and by refusing to consider substituting lower cost providers.

       45.     For example, LNV requires that White Eagle pay the expenses of D3G as backup

servicer and portfolio valuation provider (on top of the expenses of White Eagle’s Servicer, which

also values the portfolio). D3G charges fees that are three to four times the market rate for such

services. And, presumably, some portion of D3G’s fees are then remitted to Lewis & Ellis, so it

can value the same portfolio it already valued for plaintiffs (but this time at a much lower value).

       46.     White Eagle has no choice but to pay the fees imposed by LNV or be declared in

default under Section 10.1 of the Second Amended Loan Agreement. LNV’s bad faith has

deprived White Eagle of millions of dollars in needed cash flow that would otherwise have flowed

to White Eagle under the waterfall.

       47.     Fourth, LNV has withheld millions of dollars in advances that it owes to White

Eagle. When the Second Amendment increased the White Eagle Facility from $250 million to



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$370 million, the additional proceeds were used by White Eagle to purchase additional life

insurance policies from the Red Falcon Trust (“Red Falcon”), a Delaware statutory trust and an

affiliate of White Eagle, which paid off and terminated a separate credit facility. Pursuant to the

Second Amendment, certain non-financed life insurance policies previously held by Red Falcon

were also contributed to White Eagle as collateral.

       48.     In exchange for this additional collateral, as part of the Second Amendment, LNV

advanced an additional $6 million of proceeds to pay transaction closing costs and to pay future

debt services and ongoing maintenance costs of the White Eagle Facility. LNV and White Eagle

expressly agreed that these proceeds would be released to White Eagle (and, ultimately, Emergent)

after Emergent completed a July 2017 recapitalization, pursuant to which Emergent exchanged

much of its existing debt for new debt with longer maturities and, in some cases, lower interest

rates, and obtained equity investments from additional investors (the “Recapitalization”).

However, at the eleventh hour before the closing, LNV restricted those funds and, pursuant to

Section 5.1(c) of the Second Amended Loan Agreement, required that they be deposited in an

Eligible Account for the benefit of the Administrative Agent. LNV allowed White Eagle to use

only $388.069.36 of the proceeds to pay certain costs and expense incurred in connection with the

transactions contemplated by the Second Amendment. LNV unreasonably required White Eagle

to agree not to withdraw the balance of the $6 million for any purpose other than to pay Debt

Service and Ongoing Maintenance Costs. LNV represented to White Eagle that the restrictions on

the $6 million would last only until Emergent, White Eagle’s indirect parent, completed the

Recapitalization. However, LNV has continued to restrict White Eagle’s access to the balance of

the $6 million in bad faith despite repeated assurances that it would be released, and despite the

fact that Emergent’s Recapitalization closed on July 28, 2017.



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       49.     Finally, adding insult to injury, LNV has cited the success it has achieved in

strangling White Eagle’s cash flows to justify, retroactively and prospectively, its right to do so.

While White Eagle and Emergent are indisputably solvent – indeed, even utilizing LNV’s

improperly low valuations of White Eagle’s policy portfolio, Emergent’s assets exceed its

liabilities by more than $150 million, and White Eagle’s balance sheet is even further in the black

since it does not include any of the debt at the Emergent level – LNV has invoked a provision in

the Loan Agreement ostensibly permitting it to withhold any and all distributions to White Eagle

if Emergent – which is not even a party to the Loan Agreement – “fails to take steps to improve

its solvency in a manner acceptable to [LNV] (as determined in [its] sole and absolute discretion).”

(Ex. A, Annex I at I-5.)

       50.     Specifically, in early November 2018, LNV’s bankruptcy counsel wrote counsel

for White Eagle and Emergent, stating that “the calculation of the Lender Valuation is irrelevant

for purposes of determining what percentage of collections White Eagle is permitted to retain under

the waterfall,” since “Emergent faces imminent insolvency and does not currently have access to

new equity capital or debt service relief that would relieve such insolvency.” But any “insolvency”

faced by Emergent is due to LNV’s improper actions, as detailed above, which have strangled

White Eagle’s and, in turn, Emergent’s, access to the significant cash flows generated by White

Eagle’s policy portfolio. As a result of all of these improper manipulations by LNV, few if any

funds generated from maturing policies in White Eagle’s portfolio have flowed to White Eagle.

Instead, the vast majority of funds – 98% – have flowed to LNV to reduce White Eagle’s

outstanding debt. For LNV to rely on the consequences of its own improper conduct to justify

continuing that same conduct is the epitome of bad faith, and that bad faith has caused plaintiffs

significant damages.



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        B.      LNV Conspires with Silver Point and GWG
                to Appropriate White Eagle’s Valuable Life Settlement Portfolio

        51.     The culmination of LNV’s improper machinations has been its attempt (now

successful) to force plaintiffs into bankruptcy, while at the same time sending purported third

parties – who in actuality represented LNV and its corporate parent, Beal – to propose purchasing

White Eagle’s portfolio in order to stave off bankruptcy. LNV thus not only improperly put

financial pressure on White Eagle as a result of its bad faith maneuvers under the Second Amended

Loan Agreement, but also wrongly conspired with Silver Point and GWG to appropriate White

Eagle’s valuable portfolio of life settlements for its own benefit, in the meantime causing

substantial injury to plaintiffs.

        52.     First, LNV counsel repeatedly encouraged Emergent to consider filing for

bankruptcy, and stated there was more than one party that might bid on White Eagle’s portfolio.

        53.     Second, Silver Point has made overtures to purchase the policy portfolio from

White Eagle. On March 22, 2018, Jason Jacobs of Silver Point called an Emergent board member

to arrange a call concerning Silver Point’s potential purchase of the White Eagle portfolio. On

May 8, 2018, Pat Curry (Emergent’s CEO), Jack Simony (Emergent’s CIO) and Miriam Martinez

(CFO for Emergent and White Eagle) met with Jacobs of Silver Point at the New York Athletic

Club in New York City. At the meeting, Jacobs offered to purchase the portfolio and take out

White Eagle’s debt to LNV. Jacobs expressed a desire to close the transaction by year-end, so it

would be reflected in his compensation discussions with Silver Point.

        54.     Third, during and after plaintiffs’ discussions with Silver Point, at least two

different individuals, purportedly acting separately, approached Emergent and suggested they

could help facilitate a deal with Silver Point. On information and belief, both individuals – Edward




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Siskin and Steven Stanton – were working with and/or on behalf of not only Silver Point, but also

LNV and its corporate parent, Beal.

       55.     Fourth, plaintiffs were approached by GWG, a competitor to White Eagle and, on

information and belief, a major borrower of Beal. On August 15, 2018 – immediately after White

Eagle and Emergent representatives met with LNV and Beal representatives, including Andy Beal

(the founder and chairman of Beal Bank, who was directly involved in LNV’s relationship with

White Eagle and Emergent) and Brian Bailey, at Beal’s offices, purportedly in good faith – GWG

announced that Bailey, the lead Beal officer responsible for negotiating with White Eagle on behalf

of LNV, had been named Chief Investment Officer of GWG. A month later, in September 2018,

Bailey offered to buy White Eagle’s portfolio, purportedly on behalf of GWG, and advised White

Eagle that LNV was eager to sever its relationship with White Eagle and Emergent. Meanwhile,

Steve Stanton – who previously purported to offer to help plaintiffs make a deal with Silver Point

– in mid-October 2018, began to work on GWG’s behalf in its negotiations with plaintiffs. For

example, on October 10, 2018, Stanton received a due diligence template from Silver Point that

contained plaintiffs’ highly confidential information, including sensitive information concerning

White Eagle’s portfolio. Stanton forwarded that template to plaintiffs, purportedly on Silver

Point’s behalf. But just two weeks later, Stanton confirmed that he was acting on GWG’s behalf

in pursuing the portfolio. Nevertheless, in November 2018, Stanton indicated he was still in

communication with Silver Point, and privy to Silver Point’s negotiation strategy. In other words,

the two entities indisputably were working together.

       56.     Plaintiffs subsequently learned that LNV, through its parent, Beal, was behind all

of the offers White Eagle had received from both Silver Point and GWG. For example, Jacobs has

expressly admitted to plaintiffs that he and Bailey of LNV were working together in connection



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with Jacobs’ offer to purchase plaintiffs’ life insurance policies. Indeed, Jacobs of Silver Point

admitted that, immediately after the May 8, 2018 meeting with Curry, Simony and Martinez at the

New York Athletic Club, Jacobs met with Bailey of LNV, who was waiting for an update on the

meeting in the lobby of a nearby hotel. In other words, LNV was attempting to use its improper

leverage under the Loan Agreement to strangle White Eagle’s cash and pressure plaintiffs into

filing for bankruptcy and selling the valuable life insurance portfolio to Silver Point or GWG, who

were in fact acting on LNV’s behalf.

       57.     Defendants’ reaction to a change in the actuarial tables of the industry’s key

actuarial firms further evidences their collusion. In October and November 2018, those firms –

AVS and ITM TwentyFirst – announced that they would be releasing updated maturity tables.

Those tables have a significant effect on the life expectancies of the insureds under the life policies

in White Eagle’s portfolio – but the precise effect depends on the exact nature of the firms’ update,

which as of October and November 2018 was unknown. Nevertheless, within days of each other,

LNV, Silver Point and GWG all communicated to plaintiffs that they believed that the change in

actuarial tables negatively impacted the value of plaintiffs’ portfolio and, in GWG’s and Silver

Point’s case, negatively impacted the consideration that they would be offering plaintiffs to

purchase that portfolio. Notably, this information was provided by the same individual – Steve

Stanton – for both GWG and Silver Point. On information and belief, all three defendants

communicated with each other, and acted in concert, in connection with their reaction to the

actuarial firms’ announcements, as well as with their approach to plaintiffs regarding the same.

       58.     At no time did Silver Point or GWG ever disclose to plaintiffs that they were acting

as LNV’s proxies.




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VI.    DEFENDANTS AND THEIR PROXIES WORK TO CONCEAL THEIR
       CONSPIRACY AND BAD-FAITH CONDUCT

       59.     Apparently in an effort to limit discovery into their bad-faith conduct, defendants

have undertaken efforts to conceal or destroy documents that might shed light into their conspiracy.

       60.     For example, in connection with this lawsuit, LNV has informed plaintiffs that,

notwithstanding the fact that it is a regulated bank, it does not maintain more than 90 days’ worth

of emails, and that it did not stop deleting emails older than 90 days until LNV received plaintiffs’

draft complaint in mid-November 2018 – months after LNV had already engaged bankruptcy

counsel and plainly anticipated litigation with White Eagle and Emergent.

       61.     Similarly, recognizing that its valuations cannot possibly be “reasonable” if they

are tens of millions of dollars lower than the valuations calculated for the same assets by the same

firm, D3G – presumably at the direction of LNV – has now taken actions to hide its

communications with Lewis & Ellis. Specifically, D3G has informed plaintiffs that it has directed

Lewis & Ellis not to comply with plaintiffs’ third-party subpoena, and instead to provide to D3G

any potentially responsive documents relating to its work for D3G and LNV, so D3G can review

and produce such documents – an arrangement that, worryingly, would give D3G the ability to

select what documents from both Lewis & Ellis’s and D3G’s files are produced in this case.

VII.   THE PARTICIPATION CREATES A JOINT VENTURE AND GIVES RISE
       TO FIDUCIARY DUTIES THAT LNV PLAINLY BREACHED

       62.     As noted above, the Participation constitutes additional interest on LNV’s

underlying loan to White Eagle. To the extent that it does not, however, then the Participation

necessarily constitutes a 45% equity stake in White Eagle which, when combined with LNV’s

significant control over White Eagle under the loan agreement and LNV’s sharing significantly in

the profits and losses of the company, creates a joint venture, renders LNV a joint venture partner



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with White Eagle’s other equityholders, Lamington and White Eagle GP, and gives rise to

fiduciary duties to White Eagle and Emergent on the part of LNV.

       63.     Indeed, LNV has asserted that this 45% stake survives repayment and termination

of LNV’s loan commitment, and even survives a default by LNV to make advances in the first

place. (Ex. A, § 10.3.) In other words, LNV asserts that White Eagle must pay LNV a 45% share

of the profits even if LNV no longer has a single loan outstanding – a residual claim on future

profits that is the very definition of an equity interest. LNV’s 45% stake makes it the second

largest equity holder in White Eagle and effectively prevents White Eagle from accessing

alternative sources of capital.

       64.     Moreover, LNV exerts extensive day-to-day control over White Eagle’s

management and policies, which continues in effect even after the Loan is paid off. For example,

LNV must approve White Eagle’s acquisition of any additional policies. (Ex. A, § 9.2(l).) White

Eagle also cannot sell, transfer, or convey any assets without LNV’s permission (Ex. A, § 9.2(j)),

and the sale and/or abandonment of a policy is subject to LNV’s right of first offer (Ex. A, § 2.7).

Furthermore, White Eagle cannot improve the overall portfolio by trading riskier policies that

would subject it to higher litigation risk without LNV’s approval, which to date has not been

forthcoming.

       65.     Life settlements often result in litigation with insurance companies, which

frequently contest their obligation to provide coverage under the applicable policies, even after

having received years of premiums thereunder. Under the Loan Agreement, White Eagle is

required to consult with LNV’s captive Administrative Agent in connection with the defense of

any lawsuit, and LNV must approve any settlement agreement. (Ex. A, § 9.1(g) and (u).) In other

words, LNV essentially controls all of White Eagle’s litigation strategy – notwithstanding the fact



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that LNV does not bear any of the litigation risk or cost. Specifically, the priority of payments

waterfall is calibrated by LNV so that LNV is still made whole on its 45% equity participation in

the portfolio even if a policy payout is reduced below face value as a result of litigation between

White Eagle and an insurance carrier. (Ex. A, § 5.2.) At the same time, White Eagle also is

responsible for paying all litigation expenses incurred in connection with defending its policies.

(Ex. A, § 9.1.)

       66.        LNV also controls the selection of the key agents and intermediaries who service

and manage White Eagle’s portfolio of life settlements, including the Portfolio Servicer, Securities

Intermediary and Portfolio Manager. (Ex. A.) And under Section 9.1(d)(vi) of the Second

Amended Loan Agreement, White Eagle also is required to submit an annual budget to LNV

detailing every material expenditure by White Eagle, including premium payments, servicer fees,

securities intermediary fees, audit fees and administrative agent fees. LNV has “sole discretion”

under the Loan Agreement to approve the amounts set forth in the budget and any increases or

decreases. (Ex. A, § 9.1(d)(vi).)

VIII. EMERGENT AND WHITE EAGLE HAVE BEEN AND CONTINUE TO BE
      DAMAGED BY DEFENDANTS’ CONSPIRACY AND MISCONDUCT

       67.        Defendants’ conspiracy has greatly damaged plaintiffs. Through their improper

actions, they have deprived White Eagle and Emergent of millions of dollars in cash flow. By

strangling plaintiffs’ access to the proceeds of their own assets, defendants have forced plaintiffs

into bankruptcy (or the precipice thereof), endangering the future of the companies, their

businesses and their employees. Among other things, defendants’ actions have endangered White

Eagle’s ability to pay the premiums on the life insurance policies in its portfolio. Failure to pay

the premium on a policy will, obviously, lead to its cancellation. In other words, defendants are

endangering White Eagle’s ability to maintain its most valuable asset. Meanwhile, Emergent’s

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sole source of revenue is the cash generated by White Eagle’s policies. By cutting off that cash,

defendants have affected Emergent’s ability to pay its debt, and have thereby threatened

Emergent’s ability to continue as a going concern.

       68.     Plaintiffs therefore have commenced this action to remedy the significant damages

caused by defendants’ improper conduct.

                                       First Cause of Action
                                       (Breach of Contract)
                                        (As Against LNV)

       69.     Plaintiffs incorporate Paragraphs 1 through 68 as if fully set forth herein.

       70.     The Loan Agreement is a valid and binding agreement between White Eagle and

LNV, to which White Eagle is a party and Emergent is an intended third-party beneficiary.

       71.     Plaintiffs have performed and are ready, willing, and able to continue to perform

their obligations under the Loan Agreement.

       72.     Pursuant to the Loan Agreement, LNV was required to use its “reasonable

discretion” in determining the value of White Eagle’s life insurance policies in connection with

the calculation of the Lender Valuation and the LTV, and to use its “reasonable judgment” in

making changes to the methodology used to value the policies.

       73.     LNV failed to use its “reasonable discretion” or its “reasonable judgment” in

valuing White Eagle’s life insurance policies. Instead, LNV consistently, intentionally, improperly

and unreasonably undervalued White Eagle’s policies, in order to deflate the Lender Valuation,

inflate the LTV, and reduce (and in many cases eliminate) the cash flows available to plaintiffs

under the Loan Agreement’s priority of payments waterfall. LNV’s failure to value the portfolio

in a “reasonable” fashion is evidenced by, among other things, the fact that LNV (through its

servicer, D3G) utilized the exact same valuation firm (Lewis & Ellis) that plaintiffs used to value

the exact same portfolio, yet arrived at vastly lower valuations that appear designed solely to ensure
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that the value of the portfolio falls below the threshold needed for White Eagle to participate in

the Loan Agreement’s payment waterfall.

        74.     LNV’s conduct, as described above, is outrageous, intentional, malicious, willful,

and in blatant or reckless disregard of plaintiffs’ rights.

        75.     As a result of LNV’s bad faith and predatory conduct, plaintiffs have been damaged

in an amount to be determined at trial, including the amount of distributions that should have and

would have been made to White Eagle and Emergent but for LNV’s unreasonable and bad faith

conduct, the costs of the bankruptcy proceeding that was necessitated by LNV’s misconduct, and

punitive and exemplary damages, interest, costs and attorneys’ fees.

        76.     Further, plaintiffs are entitled to an order requiring LNV to specifically perform its

obligations under the Loan Agreement, including to calculate the Lender Valuations and LTV

reasonably and in good faith, and distribute the proceeds of White Eagle’s portfolio in accordance

with the waterfall set forth in the Loan Agreement.

                                   Second Cause of Action
              (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                               (As Against LNV Corporation)

        77.     Plaintiffs incorporate Paragraphs 1 through 68 as if fully set forth herein.

        78.     The Loan Agreement is a contract, to which White Eagle is a party and of which

Emergent is an intended beneficiary.

        79.     Implicit in every contract, including the Loan Agreement, is an implied covenant

of good faith and fair dealing.

        80.     LNV breached this implied covenant through its conspiratorial, bad faith and

predatory conduct, as described above, in applying an unreasonable and improper valuation to

White Eagle’s portfolio of policies, including by utilizing the same valuation firm as plaintiffs but

somehow extracting from that firm substantially lower valuations that allowed LNV to exclude
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White Eagle from the Loan Agreement’s payment waterfall, depriving plaintiffs of cash flow;

excluding the value of matured policies from such valuation; refusing to release to White Eagle

and Emergent funds that it promised to release prior to the execution of the Loan Agreement (a

promise that LNV has never denied); imposing usurious fees on White Eagle; and citing the results

of its efforts to strangle Emergent’s cash flow to justify further strangling that same cash flow, and

has thereby deprived plaintiffs of the benefits to which they are entitled under the Loan Agreement.

        81.     LNV also breached the implied covenant by abusing the discretion afforded it under

the Loan Agreement, including the “reasonable discretion” with which it may calculate the Lender

Valuation; the “sole discretion” with which it may calculate the LTV; and the “sole and absolute

discretion” with which it may determine whether Emergent has “improve[d] its solvency.”

        82.     LNV’s conduct, as described above, is outrageous, intentional, malicious, willful,

and in blatant or reckless disregard of plaintiffs’ rights.

        83.     As a result of LNV’s bad faith and predatory conduct, plaintiffs have been damaged

in an amount to be determined at trial, including the amount of distributions that should have and

would have been made to White Eagle and Emergent but for LNV’s unreasonable and bad faith

conduct, the costs of the bankruptcy proceeding that was necessitated by LNV’s misconduct, and

punitive and exemplary damages, interest, costs and attorneys’ fees.

        84.     Further, plaintiffs are entitled to an order requiring LNV to specifically perform its

obligations under the Loan Agreement, including to calculate the Lender Valuations and LTV

reasonably and in good faith, and distribute the proceeds of White Eagle’s portfolio in accordance

with the waterfall set forth in the Loan Agreement.

                                     Third Cause of Action
                              (Tortious Interference with Contract)
                               (As Against Silver Point and GWG)

        85.     Plaintiffs incorporate Paragraphs 1 through 84 as if fully set forth herein.
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        86.     The Loan Agreement is a valid and binding agreement between White Eagle and

LNV, to which White Eagle is a party and Emergent is an intended third-party beneficiary.

        87.     Plaintiffs have performed and are ready, willing, and able to continue to perform

their obligations under the Loan Agreement.

        88.     At all relevant times, Silver Point and GWG were fully aware of the Loan

Agreement and its terms. For example, Silver Point was working with LNV’s principal account

manager to attempt to purchase White Eagle’s loan portfolio, and during conversations with

plaintiffs’ officers, Jason Jacobs of Silver Point expressly cited specific provisions of the Loan

Agreement. And GWG’s actions in this case were undertaken by Brian Bailey, who previously

managed the White Eagle account while at LNV, and who in fact negotiated the Loan Agreement

and the various amendments thereto.

        89.     Silver Point and GWG utilized wrongful means and intentionally interfered with

the Loan Agreement, by participating in a conspiracy that involved LNV’s intentional breach of

the Loan Agreement’s terms – including the requirement that LNV exercise its “reasonable”

discretion in valuing the portfolio and calculating the LTV – in order to squeeze plaintiffs and

force them to sell their valuable life insurance policy to Silver Point, GWG and LNV.

        90.     Although defendants’ attempt to use improper means to coerce plaintiffs into

selling the valuable life insurance policy portfolio was unsuccessful, plaintiffs were significantly

harmed as a result of the conspiracy because plaintiffs were deprived of the cash flows to which

they were entitled from their primary assets, and because the Debtor-Plaintiffs ultimately were

forced into bankruptcy.

        91.     Defendants’ conduct, as described above, was outrageous, intentional, malicious,

willful, and in blatant or reckless disregard of plaintiffs’ rights.



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       92.     Plaintiffs are entitled to damages in an amount to be proven at trial, as well as

punitive and exemplary damages, interest, costs and attorneys’ fees.

                                     Fourth Cause of Action
                                   (Breach of Fiduciary Duty)
                                 (As Against LNV Corporation)

       93.     Plaintiffs incorporate Paragraphs 1 through 68 as if fully set forth herein.

       94.     As discussed above, to the extent that the Participation does not constitute

additional interest on LNV’s loan to White Eagle, then it constitutes equity and LNV, White Eagle

and Emergent intended to and did create a joint venture by virtue of the Loan Agreement. LNV

and Emergent mutually contributed property, financial resources and effort into White Eagle as a

joint undertaking, in which they intended to be associated as joint venturers to create an enterprise

for profit. Further, LNV maintained significant control over White Eagle through the onerous

terms in the Loan Agreement – control that continues even after the Loan is fully repaid. Finally,

LNV shares in White Eagle’s profits and losses through the LNV Participation, and through LNV’s

sole recourse to the assets of White Eagle, which consist solely of the policy portfolio. Because

White Eagle is a limited liability entity, LNV shares a potential for losses to the exact same extent

as White Eagle’s other direct equity owners, Lamington and White Eagle GP, since, as a result of

White Eagle’s status as a limited liability corporate entity, the maximum losses faced by

Lamington and White Eagle GP are their 55% interest in the portfolio, while LNV’s maximum

losses are its 45% equity interest in the portfolio, on top of its $370 million loan.

       95.     As a joint venturer, and by virtue of its 45% equity interest in the company, LNV

owed the joint venture, White Eagle, and its joint venture partner, Emergent, fiduciary duties. Such

fiduciary duties include (among others) the duties of care, good faith, loyalty and candor.

       96.     LNV breached its fiduciary duties to plaintiffs by (i) using its position to favor itself

at the expense of plaintiffs, including (among other things) through its unreasonable and bad faith
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valuations of White Eagle’s loan portfolio, which enabled LNV to siphon cash from the joint

venture for its own benefit and to the detriment of White Eagle and Emergent; and (ii) using its

position in an attempt to force plaintiffs into a distressed sale of their life settlements portfolio.

          97.    Although LNV’s attempt to use improper means to coerce plaintiffs into selling the

valuable life insurance policy portfolio was unsuccessful, plaintiffs were significantly harmed as

a result of the conspiracy because plaintiffs were deprived of the cash flows to which they were

entitled from their primary assets, and because the Debtor-Plaintiffs ultimately were forced into

bankruptcy.

          98.    LNV’s conduct, as described above, was outrageous, intentional, malicious, willful,

and in blatant or reckless disregard of plaintiffs’ rights.

          99.    Plaintiffs are entitled to damages in an amount to be proven at trial, as well as

punitive and exemplary damages, interest, costs and attorneys’ fees.

                                      Fifth Cause of Action
                         (Aiding and Abetting Breach of Fiduciary Duty)
                               (As Against Silver Point and GWG)

          100.   Plaintiffs incorporate Paragraphs 1 through 68 and 93 through 99 as if fully set forth

herein.

          101.   As discussed above, to the extent that the Participation does not constitute

additional interest on LNV’s loan, then it constitutes an equity interest in White Eagle, and LNV,

White Eagle and Emergent intended to and did create a joint venture by virtue of the Loan

Agreement.

          102.   Silver Point and GWG were aware of the joint venture, and therefore aware of the

fiduciary duties created thereby. Indeed, Silver Point was working with Brian Bailey of LNV, and

was intimately aware of LNV’s relationship with plaintiffs (since that relationship was the basis

by which defendants intended to extract value from plaintiffs). And Bailey moved to GWG in the
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midst of LNV’s purported negotiations with plaintiffs, and his intimate knowledge of LNV’s

relationship with plaintiffs must be imputed to GWG.

        103.    Silver Point and GWG knowingly, intentionally and substantially assisted in,

participated in, and induced LNV’s breach of its fiduciary duties to plaintiffs, by intentionally

participating in a scheme to use improper pressure and coercion to purchase plaintiffs’ most

valuable asset, i.e., their valuable portfolio of life insurance policies, at well below that asset’s true

value. Silver Point’s and GWG’s assistance was instrumental to the conspiracy, and to LNV’s

goal of obtaining plaintiffs’ portfolio.

        104.    Although defendants’ attempt to use improper means to coerce plaintiffs into

selling the valuable life insurance policy portfolio was unsuccessful, plaintiffs were significantly

harmed as a result of the conspiracy because plaintiffs were deprived of the cash flows to which

they were entitled from their primary assets, and because the Debtor-Plaintiffs ultimately were

forced into bankruptcy.

        105.    Defendants’ conduct, as described above, was outrageous, intentional, malicious,

willful, and in blatant or reckless disregard of plaintiffs’ rights.

        106.    Plaintiffs are entitled to damages in an amount to be proven at trial, as well as

punitive and exemplary damages, interest, costs and attorneys’ fees.

                                       Sixth Cause of Action
                                        (Civil Conspiracy)
                                    (As Against All Defendants)

        107.    Plaintiffs incorporate Paragraphs 1 through 106 as if fully set forth herein.

        108.    Defendants conspired with one another to attempt to force plaintiffs into bankruptcy

or an out-of-court restructuring, by, among other things, (i) failing to disclose to plaintiffs during

negotiations that they were conspiring and colluding with each other, and not acting independently,



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in making offers to purchase White Eagle’s policy portfolio; and (ii) attempting to purchase White

Eagle’s portfolio at below the portfolio’s fair value.

        109.     Defendants undertook their wrongful, intentional and unjustifiable acts in

furtherance of their ongoing conspiracy through, among other things, breach of fiduciary duty;

aiding and abetting breach of fiduciary duty; and tortious interference with contract.

        110.     Although defendants’ attempt to use improper means to coerce plaintiffs into

selling the valuable life insurance policy portfolio was unsuccessful, plaintiffs were significantly

harmed as a result of the conspiracy because plaintiffs were deprived of the cash flows to which

they were entitled from their primary assets, and because the Debtor-Plaintiffs ultimately were

forced into bankruptcy.

        111.     Defendants’ conduct, as described above, was outrageous, intentional, malicious,

willful, and in blatant or reckless disregard of plaintiffs’ rights.

        112.     Plaintiffs are entitled to damages in an amount to be proven at trial, as well as

punitive and exemplary damages, interest, costs and attorneys’ fees.

                                   Seventh Cause of Action
                (Declaratory Judgment for Disallowance of Portion of LNV Claim
                 Against White Eagle Representing Post-Effective Date Interest)
                                      (As Against LNV)

        113.     Debtor-plaintiff White Eagle incorporates Paragraphs 1 through 68 as if fully set

forth herein.

        114.     In the alternative to the Eight and Ninth Causes of Action, to the extent the Court

finds that the LNV Participation does not constitute an equity interest in White Eagle, and that the

value of the Participation when granted does not constitute OID (the unamortized portion of which

should be deducted in allowing LNV’s claim), then the Participation necessarily constitutes




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additional interest on LNV’s loan, which matures only as amounts become due and owing with

respect to the Participation on a quarterly basis.

       115.      Interest is compensation or consideration for a loan – it is the cost of borrowing

money. The Participation represented additional compensation and consideration for the Loan and

LNV’s advances. Absent the inclusion of the Participation, the stated or face amount of the rate

of interest on the Loan and the advances would have been higher.

       116.      Interest “matures” (i.e., is no longer unmatured) when payment comes due.

Therefore, “unmatured interest” is an obligation to pay the cost of borrowing money that is not yet

due and payable. Any obligation to make further payments under the Participation is “unmatured”

because any such payments become due, if at all, only on a quarterly basis and because no such

payments will become due for any given quarter unless and until proceeds of White Eagle’s

policies are available for distribution after various levels in the payment waterfall have been

satisfied. The Participation is a form of contingent interest that does not become due and payable

except as and to the extent that the contingency (the satisfaction of certain metrics) occurs for any

given quarter.

       117.      Under the Bankruptcy Code, the allowed claim of a creditor, even if secured or

oversecured, does not include, and such creditor is not entitled to recover, any interest that has not

yet matured at the time of the effective date of the debtor’s plan of reorganization. Any claim for

such post-effective date interest is disallowed. Instead, even the oversecured creditor is entitled to

post-plan effective date interest on its allowed secured claim only as provided under a confirmed

plan of reorganization.

       118.      Accordingly, the Court should declare that, pursuant to sections 502(b)(2) and

506(b) of the Bankruptcy Code, LNV is not entitled to an allowed claim against White Eagle to



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the extent of any portion of the LNV Participation that has not yet accrued or matured as of (or

after) the effective date of any plan of reorganization of White Eagle.

                                   Eighth Cause of Action
                (Declaratory Judgment for Recharacterization of Debt as Equity)
                                     (As Against LNV)

        119.    Debtor-plaintiff White Eagle incorporates Paragraphs 1 through 68 as if fully set

forth herein.

        120.    In the alternative to the Seventh Cause of Action, to the extent the Court finds that

the LNV Participation is not unmatured additional interest on LNV’s loan, pursuant to the

equitable powers granted to the Court by 11 U.S.C. § 105(a) and principles of recharacterization,

the Court may look beyond the form of a transaction and consider the substance of the transaction

to determine whether it should be recharacterized from debt to equity, when the parties to the

transaction in question intended an interest that is denominated as a “debt” to be an equity interest

or where it appears from the nature of the transaction that a purported debt is in fact an equity

interest.

        121.    Although LNV purports to be solely a lender to White Eagle, a significant portion

of any claim it asserts against White Eagle in fact constitutes equity. Specifically, the LNV

Participation is based on a transaction that was in actuality equity. Among other features, the value

and amounts paid or payable in respect of the LNV Participation are dependent on the success of

the Debtors’ business.

        122.    Indeed, LNV expressly has taken the position that the LNV Participation “survives

the repayment of the other Obligations …, and the termination of the Lender's commitments, under

the White Eagle Credit Agreement.” In other words, under LNV’s theory, the continuation of the

LNV Participation is not anchored or connected in any way to the existence of any outstanding

obligations on account of the loans extended by LNV under the Loan Agreement. As such, the
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LNV Participation constitutes an equity position in White Eagle. Like stock or warrants given to

a lender as part of the consideration for a loan, according to LNV, the LNV Participation is a vested

interest in profits or cash flow that survives the payment of all amounts borrowed.

         123.   To characterize the LNV Participation as debt would disregard the substance of the

interest in White Eagle that the LNV Participation represents and result in injury to White Eagle,

its creditors and its other stakeholders, including Emergent, and would confer an unfair advantage

on LNV by allowing LNV to reap the fruits of the misconduct in which it engaged.

         124.   The recharacterization of the LNV Participation from debt to an equity interest is

consistent with the substance of the transaction and the policies of the Bankruptcy Code.

         125.   The LNV Participation should be treated in its entirely as an equity interest that

ranks below the claims of White Eagle’s creditors, subject to equitable subordination as described

below.

                                 Ninth Cause of Action
  (Declaratory Judgment for Disallowance of Portion of LNV Claim Against White Eagle
    Representing Unmatured Original Issue Discount Attributable to the Participation)
                                   (As Against LNV)

         126.   Debtor-plaintiff White Eagle incorporates Paragraphs 1 through 68 and 119 through

125 as if fully set forth herein.

         127.   In the alternative to the Seventh Cause of Action, to the extent the Court finds that

the LNV Participation is not unmatured additional interest on LNV’s loan, then the Participation

necessarily constitutes OID (the unamortized portion of which should be deducted in allowing

LNV’s claim).

         128.   Pursuant to the Loan Agreement, as of the Second Amended Loan Agreement,

LNV received a promissory note issued by White Eagle, in the face amount of any advances made

by LNV on its Loan, up to $370 million.


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        129.       Pursuant to the Loan Agreement, LNV also received the Participation, as described

above. Absent the inclusion of the Participation, the stated or face amount of the rate of interest

on the Loan and the advances would have been higher.

        130.       White Eagle provided the Participation to LNV as partial consideration for LNV’s

advances on its Loan. While LNV advanced money under the Loan Agreement in exchange for

the note provided by White Eagle, some portion of LNV’s advances were consideration for the

Participation, not the note; the amount advanced by LNV was less than the sum of the face amount

of the note and the value of the Participation. That difference or shortfall – equivalent to the value

of the Participation when received by LNV – constitutes Original Issue Discount or OID.

        131.       When the consideration for a loan includes a debt obligation (such as a promissory

note) plus warrants to purchase equity in the borrower, and the stated or “face” principal amount

of the debt obligation is not reduced to reflect the value of the warrants, the debt is deemed to have

been issued with OID equal to the value of the warrants at the time of issuance. In such

circumstances, some of the cash delivered by the lender to the borrower is deemed to represent the

purchase price of the warrants, and the correct treatment of that portion of the cash delivered is to

treat it as OID.

        132.       The Participation is sufficiently similar to a warrant to purchase equity in White

Eagle to require treatment similar to a warrant for OID purposes. Like a warrant, the Participation

allows LNV to share in White Eagle’s economic success (in the form of sharing in excess cash

flow) – the Participation is a form of “equity kicker.” Like a warrant, the duration of the

Participation is not tied to the duration of the Loan – in LNV’s words, “White Eagle can prepay

all obligations, including interest, but not the Participation Interest [the Participation], which

survives such repayment.” The same would be true of warrants. Further, according to LNV, the



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Participation shares another feature of a warrant – it can be sold or assigned separate from the

Loan. In LNV’s words, “[T]he Participation Interest [Participation] can be assigned, or not

assigned, separately from other obligations.”

        133.    Under the Bankruptcy Code, the allowed claim of a creditor, whether secured or

unsecured, whose claim includes OID, does not include OID that was unamortized or unmatured

as of the effective date of the debtor’s plan of reorganization. Any claim for such unamortized

OID that is attributable to the period between the effective date of the plan and the stated maturity

(without acceleration) of the debt to LNV is disallowed. Consequently, the claim of LNV based

on its advances (i.e., the face amount purportedly owed on the note for advances) must be reduced

by the amount of such unamortized OID, and only the balance allowed. Even if a secured creditor

is oversecured and entitled to post-petition interest under section 506 of the Bankruptcy Code, its

allowed secured claim will only include OID that has accreted during the pendency of the case

between the filing of the bankruptcy petition and the effective date of the plan, and not OID which

is unamortized as of the effective date and would accrete thereafter.

        134.    Accordingly, the Court should declare that, pursuant to sections 502(b)(2) and 506

of the Bankruptcy Code, (i) LNV is not entitled to an allowed claim against White Eagle to the

extent of any unamortized OID as of the effective date of any plan of reorganization of White

Eagle; and (ii) the amount of such unamortized OID must be deducted from the face amount of

LNV’s note in determining the allowed amount of its claim.

                                  Tenth Cause of Action
         (Declaratory Judgment for Disallowance of Portion of LNV Claim Against
              White Eagle Representing Unamortized Original Issue Discount
                        Attributable to $4 Million “Up Front Fee”)
                                    (As Against LNV)

        135.    Debtor-plaintiff White Eagle incorporates Paragraphs 1 through 68 and 133 through

134 as if fully set forth herein.
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       136.     On information and belief, as a result of LNV’s retention of the $4 million “Up

Front Fee” out of the initial advance under the Original Loan Agreement, the principal amount of

LNV’s Loan has always been $4 million in excess of the amount of the proceeds actually received

by White Eagle from LNV.

       137.     Where the principal amount of a loan is in excess of the loan proceeds received by

the borrower, the difference constitutes OID, which is amortized over the life of the loan.

Accordingly, the $4 million retained by LNV on account of the “Up Front Fee” constitutes a form

of OID that is separate and distinct from any OID represented by the value of the Participation at

the time it was granted.

       138.     Pursuant to Sections 502(b)(2) and 506 of the Bankruptcy code, that portion of the

OID represented by the $4 million “Up Front Fee” which remains unamortized as of the effective

date of a plan of reorganization for White Eagle represents unmatured interest which is disallowed

against White Eagle, and must be deducted from the allowed amount of LNV’s claim.

                                    Eleventh Cause of Action
                                   (Equitable Subordination)
                                       (As Against LNV)

       139.     Debtor-plaintiff White Eagle incorporates Paragraphs 1 through 138 as if fully set

forth herein.

       140.     Section 510(c) of the Bankruptcy Code authorizes the Court to subordinate claims

under principles of equitable subordination.

       141.     Due to its control over White Eagle and its operations, LNV is an “insider” under

Section 101 of the Bankruptcy Code.

       142.     LNV engaged in inequitable, unconscionable, and/or unfair conduct.

       143.     Among other things, LNV’s bad faith, abuse of its control over White Eagle, and

other misconduct so deprived White Eagle of cash that it was forced to file this bankruptcy case.
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At all times, this outcome was LNV’s primary objective, as LNV believed it could utilize this

bankruptcy proceeding to expropriate White Eagle’s assets for itself at below-market prices, to the

detriment of White Eagle and its other stakeholders.

        144.    This inequitable, unconscionable, and/or unfair conduct of LNV resulted in harm

to White Eagle, its creditors and its other stakeholders, and/or gave LNV an unfair advantage over

White Eagle’s other creditors.

        145.    LNV’s inequitable conduct was directed against White Eagle and its other

stakeholders. Subordination of LNV’s claims and equity interests is necessary to offset the harm

which White Eagle and its creditors suffered on account of LNV’s inequitable conduct, which led

directly to the debtors’ bankruptcy filing in the first place.

        146.    All or portions of LNV’s claims should be equitably subordinated. Specifically,

the LNV Participation should be subordinated to all other equity interests in White Eagle; the

remainder of LNV’s claims should be subordinated to all other claims against White Eagle; and,

pursuant to Section 510(c)(2) of the Bankruptcy Code, any and all liens securing LNV’s equitably

subordinated claims should be transferred to the White Eagle estate.

                                      PRAYER FOR RELIEF

        WHEREFORE, White Eagle respectfully requests that this Court enter judgment against

Defendants, and provide the following relief:

                (a)     Actual, indirect, economic, consequential and compensatory damages in

                        an amount to be determined at trial;

                (b)     An order requiring LNV to perform its obligations under the Loan

                        Agreement by calculating the Lender Valuation and the LTV reasonably

                        and in good faith;



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(c)   A judgment declaring that the LNV Participation constitutes interest on

      LNV’s Loan, and that any portion of the LNV Participation that is accrued

      or payable after the effective date of any plan of reorganization of White

      Eagle must be disallowed;

(d)   In the alternative to (c), a judgment declaring that the LNV Participation

      constitutes an equity interest in White Eagle that ranks below the claims of

      White Eagle’s creditors;

(e)   In the alternative to (c), a judgment declaring that the LNV Participation

      constituted original issue discount (OID), and that any portion of such

      OID that is unamortized or unmatured as of the effective date of a plan for

      White Eagle must be deducted from the face amount of the note to LNV,

      and disallowed, in determining the allowed amount of LNV’s claim;

(f)   A judgment declaring that the $4 million “Up Front fee” constituted OID,

      and that any portion of such OID that is unamortized or unmatured as of

      the effective date of a plan for white Eagle must be deducted from the face

      amount of the note to LNV, and disallowed, in determining the allowed

      amount of LNV’s claim;

(g)   A judgment (x) subordinating all of LNV’s claims against White Eagle

      except the LNV Participation to all other claims against White Eagle;

      (y) subordinating the LNV Participation to all claims against and interests

      in White Eagle, including the interests of White Eagle’s other

      equityholders; and (z) transferring to the White Eagle estate any and all

      liens securing LNV’s equitably subordinated claims;



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(h)   Punitive and/or exemplary damages;

(i)   All costs of suit, including reasonable and necessary attorney’s fees;

(j)   Pre- and post-judgment interest at the maximum rate allowed by law; and

(k)   All such further relief, both general and special, at law or in equity, to

      which plaintiffs may show themselves justly to be entitled or as this Court

      may deem appropriate.




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Dated: March 27, 2019
       Wilmington, Delaware
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